 1                                                                    The Honorable Ronald B. Leighton
                                                                            United States District Judge
 2

 3

 4

 5

 6

 7
                                    UNITED STATES DISTRICT COURT
 8                                 WESTERN DISTRICT OF WASHINGTON
                                             AT TACOMA
 9
     JUDITH COX and CHARLES COX individually                 NO. 14-05923RBL
     and as Personal Representatives of the Estates of
10
     C.J.P. and B.T.P.,
                                                             SUPPLEMENTAL DECLARATION OF
11
                     Plaintiffs,                             EVAN BARIAULT IN SUPPORT OF
                                                             PLAINTIFFS’ MOTION FOR PARTIAL
12
              v.                                             SUMMARY JUDGMENT AND IN
                                                             OPPOSITION TO DEFENDANTS’
13
                                                             MOTION FOR SUMMARY JUDGMENT
     STATE OF WASHINGTON, DEPARTMENT
14   OF SOCIAL AND HEALTH SERVICES,
     FOREST JACOBSON, ROCKY
15   STEPHENSON, JANE WILSON, and BILLIE
     REED-LYYSKI,
16
                     Defendants.
17
              I, Evan Bariault, hereby declare as follows:
18
              1.     I am an attorney of record for plaintiffs. I make this supplemental declaration based
19
     on personal knowledge and am competent to testify to the matters contained herein.
20
              2.     Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the deposition
21
     of Detective Gary Sanders.
22

23   SUPPLEMENTAL DECLARATION OF EVAN                                        Frey buck, p.s.
     BARIAULT - 1                                                         1200 FIFTH AVENUE, SUITE 1900
24   {00155451;1}                                                               SEATTLE, WA 98101
                                                                         P: (206) 486-8000 F: (206) 902-9660
 1            3.    Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the deposition

 2   of the children’s guardian ad litem, Julio Serrano.

 3            4.    Attached hereto as Exhibit 3 is a true and correct copy of documents contained in

 4   Terrica and Steven Powell’s divorce file.

 5
              I DECLARE UNDER PENALTY OF PERJURY OF THE LAWS OF THE UNITED
 6            STATES THAT THE FOREGOING IS TRUE AND CORRECT.

 7
                                                           /s/ Evan Bariault
 8                                                         Evan D. Bariault, WSBA #42867

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23   SUPPLEMENTAL DECLARATION OF EVAN                                       Frey buck, p.s.
     BARIAULT - 2                                                        1200 FIFTH AVENUE, SUITE 1900
24   {00155451;1}                                                              SEATTLE, WA 98101
                                                                        P: (206) 486-8000 F: (206) 902-9660
 1                                         Certificate of Service

 2          I certify that on the date noted below I electronically filed this document entitled with the
     Clerk of the Court using the CM/ECF system which will send notification of such filing to the
 3   following persons:

 4
     Joseph M. Diaz, WSBA #16170                        James S. Rogers, WSBA #5335
 5   josephd@atg.wa.gov                                 jsr@jsrogerslaw.com
     Peter Helmberger, WSBA #23041                      Cheryl L. Snow, WSBA #26757
 6   peterh@atg.wa.gov                                  csnow@jsrogerslaw.com
     Jodie@atg.wa.gov                                   Elizabeth J. Donaldson, WSBA #45291
 7   Jennym@atg.wa.gov                                  liz@jsrogerslaw.com
     TORTacEF@atg.wa.gov                                Dawn@jsrogerslaw.com
 8   Office of the Attorney General                     Law Offices of James S. Rogers
     1250 Pacific Street, Suite 105                     1500 Fourth Avenue, Suite 500
 9   Post Office Box 2317                               Seattle, WA 98101
     Tacoma, WA 98401                                   (206) 621-8525
10   (253) 593-5243                                     FAX: (206) 223-8224
            Attorneys for Defendant                            Attorneys for Plaintiffs
11

12
              DATED this 23rd day of September, 2015, at Seattle, Washington.
13
                                                           /s/ Evan Bariault
14

15

16

17

18

19

20

21

22

23   SUPPLEMENTAL DECLARATION OF EVAN                                       Frey buck, p.s.
     BARIAULT - 3                                                        1200 FIFTH AVENUE, SUITE 1900
24   {00155451;1}                                                              SEATTLE, WA 98101
                                                                        P: (206) 486-8000 F: (206) 902-9660
